180 F.2d 175
    Tighe E. WOODS, Housing Expediter, Office of the HousingExpediter, Appellant,v.James B. OWSLEY, Appellee.
    No. 11021.
    United States Court of Appeals Sixth Circuit.
    Feb. 18, 1950.
    
      Appeal from the United States District Court of the Northern District of Ohio; Emerich B. Freed, Judge.
      Paul Marshall, Cleveland, Ohio, for appellant.
      Ralph R. Levenson, Cleveland, Ohio, for appellee.
      Before MARTIN, McALLISTER, and MILLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The above cause coming on to be heard, and it appearing that appellant heretofore filed a motion for reversal of the judgment of the District Court, and on the hearing of such motion, an order was entered by this court providing that unless objections to the granting of appellant's motion for reversal of the judgment be filed with this court on or before February 17, 1950, that an order would be entered granting appellant's motion; and it further appearing that in the said order of the court, it was provided that a copy of that order be served by mail by the Clerk of this court upon counsel for appellee at least ten days prior to the date provided for the filing of the said objections; and if further appearing that a copy of the said order was served by the Clerk of this court upon counsel, as required in accordance with the said order, and no objection having been filed,
    
    
      2
      Now, therefore, it is hereby ordered, adjudged, and decreed that the above cause be remanded to the District Court for entry of a judgment granting appellant's petition for restitution as prayed, as well as for a permanent injunction.
    
    